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                                                                                                      Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3   Kendrick Fobb                                      )
                                                        )            21-07778-HSG_______________
                                                            Case No: _______________
 4                                                      )
                                      Plaintiff(s),     )   APPLICATION FOR
 5                                                      )   ADMISSION OF ATTORNEY
             v.
                                                        )   PRO HAC VICE; ORDER
 6   Uber Technologies, Inc. et al.                     )   (CIVIL LOCAL RULE 11-3)
                                                        )
 7
                                      Defendant(s).     )
                                                        )
 8
         I, Jaime M. Farrell                          , an active member in good standing of the bar of
 9    New York & Massachusetts , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: Plaintiff, Kendrick Fobb                  in the
      above-entitled action. My local co-counsel in this case is __________________________________,
                                                                 Mike Carney, Esq.                   an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                                  LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    445 Broad Hollow Road, Suite No. 419                   8124 West 3rd Street, Floor No. 1
      Melville, NY 11747                                     Los Angeles, CA 90048
14
       MY TELEPHONE # OF RECORD:                              LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (631) 420-9300                                         (310) 773-5573
       MY EMAIL ADDRESS OF RECORD:                            LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    jfarrell@sssfirm.com                                   mcarney@sssfirm.com
         I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: NY-5786660 .
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 10/27/21                                                  Jaime M. Farrell
22                                                                                  APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Jaime M. Farrell                           is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 11/8/2021
                                                                  UNITED STATES DISTRICT JUDGE October 2012

     PRO HAC VICE APPLICATION & ORDER
